Case 18-09108-RLM-11               Doc 435       Filed 04/26/19         EOD 04/26/19 12:50:28              Pg 1 of 10



                         IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF INDIANA
                                  INDIANAPOLIS DIVISION


 In re:                                                              Chapter 11

 USA GYMNASTICS, 1                                                   Case No. 18-09108-RLM-11

                    Debtor.


            THE ADDITIONAL TORT CLAIMANTS COMMITTEE OF SEXUAL
             ABUSE SURVIVORS’ MOTION FOR AN ORDER PURSUANT TO
          BANKRUPTCY RULE2004 DIRECTING PRODUCTION OF DOCUMENTS
          AND MATERIALS FROM THE NATIONAL GYMNASTICS FOUNDATION

          The Additional Tort Claimants Committee of Sexual Abuse Survivors (the “Sexual

 Abuse Survivors’ Committee”), appointed in this case under chapter 11 of Title 11 of the United

 States Code (the “Bankruptcy Code”), hereby submits this motion (this “Motion”) for the entry

 of an order authorizing the Sexual Abuse Survivors’ Committee to issue a subpoena (the

 “Subpoena”), pursuant to Rule 2004 of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”), to the National Gymnastics Foundation (“NGF”) compelling the

 production of the documents as set forth in the Subpoena annexed hereto as Exhibit A. In

 support of the Motion, the Sexual Abuse Survivors’ Committee respectfully states as follows:

                                       PRELIMINARY STATEMENT

          1.       Several hundreds of children and young adults were sexually abused by

 individuals for whom USA Gymnastics (“USAG”) was responsible (the “Survivors”). The NGF

 is a foundation created by and controlled by USAG and its sole mission is the support of the

 charitable and educational activities of USAG. According to NGF’s 2017 Federal “Return of


 1
  The last four digits of the Debtor’s federal tax identification number are 7871. The location of the Debtor’s
 principal office is 130 E. Washington Street, Suite 700, Indianapolis, Indiana 46204.
Case 18-09108-RLM-11             Doc 435      Filed 04/26/19        EOD 04/26/19 12:50:28            Pg 2 of 10



 Organization Exempt From Income Tax” (“Form 990”), NGF has 10 times the net assets of

 USAG: NGF’s net assets exceed of $16 million in comparison to USAG’s net assets of $1.56

 million, per its 2017 Federal “Return of Organization Exempt From Income Tax”.

         2.       USAG and NGF have a relationship that warrants investigation to determine if

 NGF’s assets are property of the estate and whether USAG’s powers under sections 544-550 of

 the Bankruptcy Code, inclusive, can be used to bring NGF assets into the estate. That

 relationship includes the following:

         (a) USAG’s 2005 audited financial statement recites “In connection with the
             restructuring of the foundation’s board of directors, the federation was determined to
             control the Foundation. As a result, the accounts of the Foundation have been
             consolidated with those of the federation”; 2

         (b) USAG is the sole member of NGF;

         (c) The NGF 2017 Form 990 states that is a “controlled entity” of USAG;

         (d) Notwithstanding USAG’s statement in its audited financial statement and that Mr.
             Shollenberger reviewed and signed Form 990s for USAG and NGF, he testified at the
             first meeting of creditors that USAG did not control NGF; 3

         (e) Every NGF Form 990 on USAG’s website was signed by the same person as every
             one of USAG’s Form 990s for the same year and each signatory signed in an identical
             capacity for each entity;

         (f) USAG’s board of directors appoints NGF’s board of directors;

         (g) Several of NGF’s directors served as USAG board members, board committee
             members or officers:

                  (i)    James Morris, the NGF’s 2017 Chairman of the Board, was on USAG’s
                         2012 board of directors and served as USAG’s treasurer; 4

                  (ii)   Keith Douglas, a member of NGF’s 2017 board, is a two term member of
                         USAG’s Finance, Compensation and Audit Committee;


 2
   USAG’s previous corporate name was the National Gymnastics Federation.
 3
   Mr. Shollenberger was Chief Financial Officer of the Debtor for seven months at the time of his testimony.
 4
   Mr. Morris also served on the US Olympic Committee’s audit and ethics committees from approximately 1983-
 1989.


                                                        2
Case 18-09108-RLM-11         Doc 435     Filed 04/26/19     EOD 04/26/19 12:50:28        Pg 3 of 10



                (iii) Gary Anderson, a member of NGF’s 2017board, served as USAG’s board
                      secretary (non-voting); and
                (iv) John Hewett, a long time officer of NGF, hwas the Debtor’s Chief Financial
                      Officer from 1983-July 2018 and signed Form 990s for both NGF and
                      USAG during that time period.

        (h) From NGF’s creation until November 2018, USAG maintained NGF’s books and
            records, including preparation of checks and financial statements. Mr. Shollenberger
            testified that he was unaware of any reimbursement agreement between USAG and
            NGF for USAG’s services; and

        (i) NGF and USAG have a history of owing one another money. For example, in 2014,
            NGF reported that USAG owed it $4,256,565 (a liability that does not appear to be
            stated in USAG’s 2014 Form 990) and in 2015, it reported that USAG owed it only
            $616,718. However, NGF’s 2015 Form 990 does not appear to reflect any receipts of
            that magnitude and USAG’s 2015 Form 990 does not appear to reflect a payment of
            that magnitude.

        3.      Therefore, it seeks information from the NGF, pursuant to Bankruptcy Rule 2004,

 related to the estate’s possible claims against NGF. For these reasons, and the reasons below, the

 Sexual Abuse Survivors’ Committee respectfully requests that the Court grant the Motion.

                                 JURISDICTION AND VENUE

        5.      This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and

 1334. This matter is a core proceeding under 28 U.S.C. § 157(b). Venue of USAG’s chapter 11

 case and this Motion is proper pursuant to 28 U.S.C. §§ 1408 and 1409. The statutory predicates

 for the relief sought herein are sections 105 and 1103 of the Bankruptcy Code and Bankruptcy

 Rule 2004.

                                        BACKGROUND

        6.      On December 5, 2018 (the “Petition Date”), USAG commenced its Chapter 11

 Case (the “Case”) by filing a voluntary petition for relief under Chapter 11 the Bankruptcy Code.

 Pursuant to sections 1107(a) and 1108 of the Bankruptcy Code, USAG continues to operate as

 debtor in possession.




                                                 3
Case 18-09108-RLM-11          Doc 435      Filed 04/26/19      EOD 04/26/19 12:50:28          Pg 4 of 10



        7.      On December 19, 2013 the United States Trustee (the “U.S. Trustee”) appointed

 nine members to the Sexual Abuse Survivors’ Committee.

                                       RELIEF REQUESTED

        8.      The Sexual Abuse Survivors’ Committee seeks entry of the Proposed Order

 annexed hereto as Exhibit B (the “Proposed Order”), which would authorize the Sexual Abuse

 Survivors’ Committee to issue the Subpoena to the NGF compelling the production of the

 documents and materials as set forth in the Subpoena, without prejudice to the Sexual Abuse

 Survivors’ Committee’s right to seek further and other forms of discovery from the NGF.

                                        BASIS FOR RELIEF

        9.      Pursuant to section 1103(c)(2) of the Bankruptcy Code, the Sexual Abuse

 Survivors’ Committee is charged with the duty to:

                investigate the acts, conduct, assets, liabilities, and financial
                condition of the debtor, the operation of the debtor’s business and
                the desirability of the continuance of such business, and any other
                matter relevant to the case or to the formulation of a plan.

 Accordingly, pursuant to these powers, the Sexual Abuse Survivors’ Committee seeks the

 production of documents from the NGF in order to ascertain USAG’s claims against the third

 parties and otherwise discharge its fiduciary duties to its constituency.

        10.     An examination pursuant to Bankruptcy Rule 2004 “can be ordered ‘on motion of

 any party in interest.’” In re Lifeco Inv. Group, Inc., 173 B.R. 478, 480 (Bankr. D. Del. 1994)

 (quoting Fed. R. Bankr. P. 2004(a)). Bankruptcy Rule 2004 further provides that the Court may

 order the examination and the production of documentary evidence concerning any matter that

 relates “to the acts, conduct, or property or to the liabilities and financial condition of the debtor,

 or to any matter which may affect the administration of the debtor’s estate, or . . . any matter

 relevant to the case or the formulation of a plan.” Fed. R. Bankr. P. 2004(b); see also Harrow v.



                                                    4
Case 18-09108-RLM-11         Doc 435     Filed 04/26/19     EOD 04/26/19 12:50:28         Pg 5 of 10



 Street (In re Fruehauf Trailer Corp.), 369 B.R. 817, 827-28 (Bankr. D. Del. 2007) (noting the

 “extensive document discovery” that occurred pursuant to a subpoena issued under Fed. R.

 Bankr. P. 2004). To that end, “[t]hird parties having knowledge of the debtor’s affairs, as well as

 a debtor itself, are subject to examination.” In re Valley Forge Plaza Assoc., 109 B.R. 669, 674

 (Bankr. E.D. Pa. 1990); see also In re Wilcher, 56 B.R. 428, 433 (Bankr. N.D. Ill. 1985); In re

 Lufkin, 255 B.R. 204, 209 (Bankr. E.D. Tenn. 2000).

         11.    The scope of a Bankruptcy Rule 2004 examination is “unfettered and broad,” as

 the plain language of the rule indicates. See 9 Collier on Bankruptcy ¶ 2004.02[1] at 2004-6

 (15th ed. Rev. 1997) (quoting In re Table Talk, Inc., 51 B.R. 143, 145 (Bankr. D. Mass. 1985);

 see also In re Comdisco, Inc., No. 01 B 24795, 2006 U.S. Dist. LEXIS 60818, at *10 (N.D. Ill.

 Aug. 14, 2006). Courts have repeatedly recognized that the scope of Bankruptcy Rule 2004

 examinations as broad. In re Countrywide Home Loans, Inc., 384 B.R. 373, 400 (Bankr. W.D.

 Pa. 2008) (citing In re Lev, No. 05-35847, 2008 WL 207523, at *3 (Bankr. D.N.J. Jan. 23,

 2008)); see also In re Fearn, 96 B.R. 135, 138 (Bankr. S.D. Ohio 1989). Indeed, Bankruptcy

 Rule 2004 affords parties-in-interest an extremely broad right of discovery and “is even broader

 than that of discovery permitted under [the Federal Rules of Civil Procedure], which themselves

 contemplate broad, easy access to discovery.” In re Valley Forge Plaza Assocs., 109 B.R. 669,

 674 (Bankr. E.D. Pa. 1990) (citations omitted).

         12.    Bankruptcy Rule 2004 relief is necessary and applicable here. USAG’s

 relationship with NGF warrants an investigation into whether NGF’s assets are property of the

 estate or whether the estate has claims against NGF under sections 544-550 of the Bankruptcy

 Code.




                                                   5
Case 18-09108-RLM-11          Doc 435      Filed 04/26/19    EOD 04/26/19 12:50:28         Pg 6 of 10



                                   RESERVATION OF RIGHTS

        13.     The Sexual Abuse Survivors’ Committee reserves all of its rights, claims,

 defenses, and remedies, including, without limitation, the right to amend, modify, or supplement

 this Motion.

                                               NOTICE

        14.     Notice of this Motion is being given to (a) counsel to the NGF, (b) counsel to

 USAG, (c) the U.S. Trustee, and (d) those parties that have requested notice in this case. The

 Sexual Abuse Survivors’ Committee respectfully submits that no other or further notice is

 necessary under the circumstances.

        15.     The Sexual Abuse Survivors’ Committee is contemporaneously filing herewith a

 “9006(c) Request” requesting that the Court shorten notice on this Motion to seventeen (17) days

 and setting the Motion for the omnibus hearing scheduled for May 15, 2019 at 1:30 p.m.

 (prevailing Eastern time). Counsel for the Sexual Abuse Survivors’ Committee requested NGF’s

 consent to the “9006(c) Request,” but as of the filing of this motion, counsel for NGF, Jeffrey A.

 Hokanson, was not able to confirm NGF’s position. A draft of this motion was sent to NGF’s

 counsel in advance of the filing of this motion on April 25, 2019.

                                       NO PRIOR REQUEST

        16.     The Sexual Abuse Survivors’ Committee has not made any prior request for the

 relief requested herein to this or any other court.

        WHEREFORE, for the reasons discussed herein, the Sexual Abuse Survivors’

 Committee respectfully requests entry of an order substantially in the form annexed hereto as

 Exhibit B: (i) granting the Motion in its entirety; (ii) authorizing the Sexual Abuse Survivors’

 Committee to issue the Subpoena to the NGF compelling the production of the documents and

 materials as set forth in the Subpoena, without prejudice to the Sexual Abuse Survivors’


                                                   6
Case 18-09108-RLM-11         Doc 435     Filed 04/26/19      EOD 04/26/19 12:50:28       Pg 7 of 10



 Committee’s rights to seek further and other forms of discovery from the NGF; and (iii) granting

 such other and further relief as this Court deems just and proper under the circumstances.

                                              Respectfully submitted,
                                              PACHULSKI STANG ZIEHL & JONES LLP
 Dated: April 26, 2019                        /s/ James I. Stang
                                              James I. Stang, Esq. (admitted pro hac vice)
                                              Ilan D. Scharf, Esq. (admitted pro hac vice)
                                              Joshua M. Fried, Esq.
                                              Steven W. Golden, Esq. (admitted pro hac vice)
                                              10100 Santa Monica Blvd., 13th Floor
                                              Los Angeles, CA 90067-4003
                                              Telephone: (310) 277-6910
                                              Facsimile: (310) 201-0760
                                              E-mail: jstang@pszjlaw.com
                                                       isharf@pszjlaw.com
                                                       jfried@pszjlaw.com
                                                       sgolden@pszjlaw.com
                                                     -and-
                                              RUBIN & LEVIN, P.C.
                                              /s/ Meredith R. Theisen
                                              Meredith R. Theisen, Esq.
                                              Deborah J. Caruso, Esq.
                                              135 N. Pennsylvania Street, Suite 1400
                                              Indianapolis, IN 46204
                                              Telephone: (317) 634-0300
                                              Facsimile: (317) 263-9411
                                              Email: dcaruso@rubin-levin.net
                                                     mtheisen@rubin-levin.net
                                              Counsel for the Sexual Abuse Survivors’ Committee




                                                 7
Case 18-09108-RLM-11         Doc 435     Filed 04/26/19     EOD 04/26/19 12:50:28        Pg 8 of 10



                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 26, 2019, a copy of the foregoing The Additional Tort
 Claimants Committee of Sexual Abuse Survivors’ Motion for an Order Pursuant to Bankruptcy
 Rule 2004 Directing Production of Documents and Materials from the National Gymnastics
 Foundation was filed electronically. Notice of this filing will be sent to the following parties
 through the Court’s Electronic Case Filing System. Parties may access this filing through the
 Court’s system.

 Nancy D Adams ndadams@mintz.com
 Steven Baldwin sbaldwin@psrb.com, rmatthews@psrb.com
 Martin Beeler mbeeler@cov.com
 Daniel D. Bobilya dan@b-blegal.com, sarah@b-blegal.com
 Tonya J. Bond tbond@psrb.com, jscobee@psrb.com
 Wendy D Brewer wbrewer@fmdlegal.com, cbellner@fmdlegal.com
 Kenneth H. Brown kbrown@pszjlaw.com
 Charles D. Bullock cbullock@sbplclaw.com, lhaas@sbplclaw.com
 George Calhoun george@ifrahlaw.com, Heather.Simpson@kennedyscmk.com
 John Cannizzaro john.cannizzaro@icemiller.com, Thyrza.Skofield@icemiller.com
 Deborah Caruso dcaruso@rubin-levin.net, dwright@rubin-levin.net;jkrichbaum@rubin-
 levin.net;atty_dcaruso@bluestylus.com
 Dianne Coffino dcoffino@cov.com
 Alex Cunny acunny@manlystewart.com
 Edward DeVries edward.devries@wilsonelser.com
 Karen M Dixon kdixon@skarzynski.com
 Laura A DuVall Laura.Duvall@usdoj.gov, Catherine.henderson@usdoj.gov
 Jeffrey B. Fecht jfecht@rbelaw.com, rmcclintic@rbelaw.com
 Sarah Lynn Fowler sarah.fowler@mbcblaw.com, deidre.gastenveld@mbcblaw.com
 Eric D Freed efreed@cozen.com, mmerola@cozen.com
 Cameron Getto cgetto@zacfirm.com
 Steven W Golden sgolden@pszjlaw.com
 Gregory Michael Gotwald ggotwald@psrb.com, scox@psrb.com
 Manvir Singh Grewal mgrewal@4grewal.com
 Susan N Gummow sgummow@fgppr.com, bcastillo@fgppr.com
 Katherine Hance khance@goodwin.com
 Jeffrey M. Hester jhester@hbkfirm.com, mhetser@hbkfirm.com
 Samuel D. Hodson shodson@taftlaw.com, aolave@taftlaw.com
 Jeffrey A Hokanson jeff.hokanson@icemiller.com, bgnotices@icemiller.com
 John R. Humphrey jhumphrey@taftlaw.com, aolave@taftlaw.com
 Cassandra Jones cjones@wwmlawyers.com, vhosek@wwmlawyers.com
 Bruce L. Kamplain bkamplain@ncs-law.com, dhert@ncs-law.com;klong@ncs-law.com
 Kevin P Kamraczewski kevin@kevinklaw.com
 Ronald David Kent ronald.kent@dentons.com
 Adam L. Kochenderfer akochenderfer@wolfsonbolton.com
 Christopher Kozak ckozak@psrb.com
 Carl N. Kunz ckunz@morrisjames.com, jdawson@morrisjames.com



                                                 8
Case 18-09108-RLM-11     Doc 435    Filed 04/26/19   EOD 04/26/19 12:50:28       Pg 9 of 10



 Cynthia Lasher clasher@ncs-law.com, dcouch@ncs-law.com;dhert@ncs-law.com
 Martha R. Lehman mlehman@salawus.com,
 marthalehman87@gmail.com;pdidandeh@salawus.com;lengle@salawus.com
 Michael M. Marick mmarick@skarzynski.com
 Phillip Alan Martin pmartin@fmdlegal.com, cbellner@fmhd.com
 John McDonald jmcdonald@briggs.com
 Mathilda S. McGee-Tubb msmcgee-tubb@mintz.com
 Harley K Means hkm@kgrlaw.com, kwhigham@kgrlaw.com;cjs@kgrlaw.com
 Geoffrey M. Miller geoffrey.miller@dentons.com, ndil_ecf@dentons.com
 Robert Millner robert.millner@dentons.com, ndil_ecf@dentons.com
 James P Moloy jmoloy@boselaw.com,
 dlingenfelter@boselaw.com;mwakefield@boselaw.com
 Ronald J. Moore Ronald.Moore@usdoj.gov
 Whitney L Mosby wmosby@bgdlegal.com, fwolfe@bgdlegal.com
 Joel H. Norton jnorton@rsslawoffices.com
 Michael P. O'Neil moneil@taftlaw.com, aolave@taftlaw.com
 Weston Erick Overturf wes.overturf@mbcblaw.com,
 deidre.gastenveld@mbcblaw.com;ellen.sauter@mbcblaw.com
 Dean Panos dpanos@jenner.com
 Stephen Jay Peters speters@kgrlaw.com, acooper@kgrlaw.com
 Ginny L. Peterson gpeterson@k-glaw.com, acoy@k-glaw.com
 John Thomas Piggins pigginsj@millerjohnson.com, ecfpigginsj@millerjohnson.com
 George Plews gplews@psrb.com
 Amanda Koziura Quick amanda.quick@atg.in.gov,
 Darlene.Greenley@atg.in.gov;Hunter.Schubert@atg.in.gov
 Michael L. Ralph mralph@rsslawoffices.com
 Abigail E. Rocap arocap@batescarey.com
 Melissa M. Root mroot@jenner.com, wwilliams@jenner.com
 James Pio Ruggeri jruggeri@goodwin.com
 Syed Ali Saeed ali@sllawfirm.com, betty@sllawfirm.com
 Ilan D Scharf ischarf@pszjlaw.com
 Thomas C Scherer tscherer@bgdlegal.com, fwolfe@bgdlegal.com
 David J. Schwab djschwab@rsslawoffices.com
 Igor Shleypak ishleypak@fgppr.com, jfecteau@fgppr.com
 Casey Ray Stafford cstafford@k-glaw.com, lsmith@k-glaw.com
 James I. Stang jstang@pszjlaw.com
 Catherine L. Steege csteege@jenner.com, mhinds@jenner.com;thooker@jenner.com
 Laura B. Stephens lbstephens@mintz.com
 Meredith R. Theisen mtheisen@rubin-levin.net,
 atty_mtheisen@bluestylus.com;mralph@rubin-levin.net
 U.S. Trustee ustpregion10.in.ecf@usdoj.gov
 Susan Walker susan.walker@dentons.com
 Joshua D Weinberg jweinberg@goodwin.com
 Mark R. Wenzel mwenzel@salawus.com, pdidandeh@salawus.com
 Gabriella B. Zahn-Bielski gzahnbielski@cov.com




                                           9
Case 18-09108-RLM-11                   Doc 435          Filed 04/26/19         EOD 04/26/19 12:50:28   Pg 10 of 10



        I further certify that on April 26, 2019, a copy of the foregoing The Additional Tort
 Claimants Committee of Sexual Abuse Survivors’ Motion for an Order Pursuant to Bankruptcy
 Rule 2004 Directing Production of Documents and Materials from the National Gymnastics
 Foundation was served via electronic mail to the following:
 United States Olympic Committee: Chris McCleary at Chris.McCleary@usoc.org
 The Alexander, a Dolce Hotel and Wyndham Hotel Group, LLC: Daniel M. Eliades at
 daniel.eliades@klgates.com and David S. Catuogno at david.catuogno@klgates.com

                                                                          /s/ Meredith R. Theisen
                                                                          Meredith R. Theisen
 f:\wp80\genlit\usa gymnastics-86756901\drafts\2004 exam motion ngf.doc




                                                                   10
